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      Case 1:02-cv-06385-AWI-GSA Document 245 Filed 06/13/13 Page 1 of 3
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                             .loung~)
 2                          Nichols
                    A Partnership Composed uf Prufeuiunlll Curptit'alinn!t
                                                                                                  FILED
 3
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 5
       THOMAS A. BRILL, ESQ., SBN 125356
 6     Attorneys for Plaintiffs

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 8                                                      UNITED STATES DISTRICT COURT

 9                                                   EASTERN DISTRICT OF CALIFORNIA

10                                                                           ******
II      MARIA TORRES and MELCHOR                                                  CASE NO.: CIV-F-02-6385AWI (UO)
12      TORRES, individually and as
        Administrators of the Estate of
13      EVERARDO TORRES,                                                          STIPULATION TO CONTINUE
                                                                                  PRETRIAL CONFERENCE
14                            Plaintiffs,
15                                                                                CURRENT DATE: AUGUST 1,2013
        vs.
16
        CITY OF MADERA, MARY NORIEGA,
17      indivdually and as a member of the
        Madera Police Department; and DOES 1
18      through 50,
19                             Defendants.
20
       IT IS HEREBY STIPULATED, by and between the parties herein, through their respective
21
       counsel of record, that the Pretrial Conference scheduled for August 1, 2013 be continued for a
22
23     short time for the following reasons:

24             1.          Counsel for Plaintiff, Thomas A. Brill, of the law offices of Young & Nichols, is

25     taking the Hawaii State Bar Examination on July 30 and July 31. 2013. He will be unable to
26
       attend the Pretrial Conference currently scheduled for August 1,2013 at 8:30 a.m. in Courtroom
27
       2 of this Court.
28

                                     STIPULATION TO CONTINUE PRETRIAL CONFERENCE
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                     2.      Thomas A. Brill is the trial attorney for Plaintiffs who will be trying this case, and

        2      is the only attorney at Young & Nichols with any familiarity with the case.

        3            3.      Mr. Brill originally scheduled to take the Hawaii State Bar in February, 2013, but
        4
               due to an issue with documentation, he was unable to take the exam in February. The bar
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               examiners did, however, hold the application open for the July Bar exam and allowed Mr. Brill
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               to take the examination in July once the issue had been resolved.
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-'"                  4.      Mr. Brill has expended substantial time and money in preparing for the bar
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               examination, including enrolling in a BARBRI course at a cost of over $2,000, and has
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u.'"           expended at least 60 hours a week studying since late May, 2013. In addition, Mr. Brill has
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                tickets to travel to Hawaii to be able to take the examination.
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'"'"-                5.      Plaintiffs counsel is well aware of the scheduling issues this Court has as a result

                of being short-staffed, but under the circumstances is requesting a one week continuance of the

                Pretrial Conference so that Mr. Brill can attend the hearing without being required to cancel his

                plans to take the bar examination.

                     6.      The continuance will not affect the trial date in this matter,

                     7.      Defense counsel, Bruce D. Praet, of Ferguson, Praet & Sherman has stipulated to

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                the change of hearing date, and agrees to the requested date of August 8, 2013, at a time
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  c:            convenient to the court's calendar.
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                     8.      Plaintiffs therefore request that this Court continue the Pretrial Conference date
 ~ 22

        23      from August 1,2013, to August 8,2013, or such other time after August 5,2013 that is

        24      convenient to the court's calendar.

        2S      DATED: June 12,2013
        26

        27                                                   By~~~______~~=--=                  _______
                                                                                       , ,ESQ.
        28                                                          Attorneys for Plaintiffs
                                                        2
                                   STIPULATION TO CONTINUE PRETRlAL CONFERENCE
        Case 1:02-cv-06385-AWI-GSA Document 246 Filed 06/18/13 Page 3 of 3
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             IT IS SO STlPULATED.

         2   DATED: June/-Z; 2013               FERGUSON, PRAET & SHERMAN
         3
         4
         S                                             BRUCE D. PRAET. ESQ.
                                                       Attorneys for Defendants
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~I
             IT IS SO ORDERED.                                j
"'"..    8
             The Pretrial Conference will be rescheduled to /fu-rtt~ ~     ,at 8:30 a.m. in
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             Courtroom 2 of this Court.                -   -----------------~




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                              STlPLI.ATlON TO CONTINUE PRETRIAL CONFERENCE
